           Case 5:25-cv-05127-TLB                          Document 15                  Filed 06/13/25                Page 1 of 1 PageID #: 201
                              SIMPSON THACHER & BARTLETT LLP 425 LEXINGTON AVENUE NEW YORK, NY 10017
                                                                                                                               Client’s File No.:
                                                                                                                    Civil Action No.:         Case 5:25-cv-05127-TLB
                                                              AFFIDAVIT OF SERVICE                                        Date Filed:              June 11, 2025
UNITED STATES DISTRICT COURT FOR                                                                                         Court Date:
THE WESTERN DISTRICT OF ARKANSAS                                                                                                      :

                     SAMANTHA STINSON and JONATHAN STINSON, on behalf of themselves and on behalf of their minor children, A.
                                                       R.S. and A.W.S.; et al.,

                                                                                                                                                                  Plaintiff
                                                                                             vs
                     FAYETTEVILLE SCHOOL DISTRICT NO. 1; SPRINGDALE SCHOOL DISTRICT NO. 50; BENTONVILLE SCHOOL DISTRICT NO.
                                                  6; and SILOAM SPRINGS SCHOOL DISTRICT NO. 21,

                                                                                                                                                               Defendant

STATE OF ARKANSAS COUNTY OF                                BENTON           SS.:
The undersigned being duly sworn deposes and says: that deponent is not a party to this action, is over 18 years of age and
resides in the State of Arkansas
That on the following date:      June 12, 2025    , at the following time:      4:13 PM          ,
at                                   500 TIGER BLVD., BENTONVILLE, AR 72712                                                         deponent served the within
Summons in a Civil Action, Complaint for Declaratory and Injunctive Relief, Civil Cover Sheet with Case Opening Information Continuation Sheet and Instructions, Motion for
Preliminary Injunction with Attachment, Declaration of Samantha Stinson in Support, Declaration of Jonathan Stinson in Support, Declaration of Stephen Caldwell in Support,
     Declaration of Joseph Armendariz in Support, Declaration of Talara Taylor in Support, Declaration of Shane Taylor in Support, Declaration of Carol Vella in Support,
   Declaration of Daniel Rix in Support, Declaration of Leah Bailey in Support, Declaration of Steven K. Green, J.D., Ph.D., Expert Report of Steven K. Green, J.D., Ph.D.,
                                          Exhibit A, Notice of Constitutional Challenge to State Statute and Memorandum in Support

X Papers so served were properly endorsed with the Civil Action No. and date of filing.
              BENTONVILLE SCHOOL DISTRICT NO. 6
     Upon:
                                                                .

 1
Individual      By delivering a true copy thereof to said recipient personally; deponent knew the person so served to be the individual described therein.

Responsible By delivering to and leaving with                                                                ,       Deputy Superintendent
 1                                                                                                                             Relationship
Person
            a true copy thereof, a person of suitable age and discretion. Said premises being the defendant / respondent’s
             [ X ] dwelling place   [ X ] place of business/employment     [ X ] last known address within the State. [ X ] usual place of abode

Corporation
 1          By delivering to and leaving with          Janet Schwanhauser              said individual to be      Deputy Superintendent
LLC / LLP   who specifically stated he/she was authorized to accept service on behalf of the Corporation/Government Agency/Entity.

Affixing        By affixing a true copy thereof to the door, being the defendant/respondent’s [ X ] dwelling place      [ X ] place of business/employment
 1
To Door         [ X ] last known address within the State. [ X ] usual place of abode   [x] Served at principal dwelling place.

Previous        Deponent previously attempted to serve the above named defendant/respondent on:
Attempts

Perceived    Gender: Female                                      Color of hair: Blonde   Age: 40 - 50 Yrs.       Height: 5ft 4inch - 5ft 8inch
                                   Race:         White
Description
of Recipient Weight:    100-130  Lbs.    Other  Features:
 1
 Mail        A copy thereof was deposited in a postpaid, properly addressed envelope, marked “Personal and Confidential” in a depository maintained
             by the U. S. P. S. and mailed First Class mail to the above address                            .
             on
 1WITNESS        Subpoena Fee Tendered in the amount of $.
  FEES
 1MILITARY I asked the person spoken to whether defendant was in active military service of the United States in any capacity whatever and
  SERVICE received a negative reply. The source of my information and the grounds of my belief are the conversations and observations above
           narrated.
  1
 Other


                                      06/13/2025
 Sworn to before me on
                                                                                              PROCESS SERVER - PRINT NAME BELOW SIGNATURE
                                                                                                              John Cumpston
                                                                                              PROCESS SERVER LICENSE #
     COURT SUPPORT, INC., 265 POST AVE #150, WESTBURY, NY 11590 LICENSE #1382542-DCA                                              Work Order # 1499773
